ILND 450 (Rev.Case:   1:19-cv-03083
              04/29/2016) Judgment in a Civil Document
                                              Action     #: 225 Filed: 10/12/22 Page 1 of 1 PageID #:3868

                                   IN THE UNITED STATES DISTRICT COURT
                                                 FOR THE
                                      NORTHERN DISTRICT OF ILLINOIS

Richard Rogers,
Plaintiff(s),
                                                                 Case No. 19 C 3083
v.                                                               Judge

BNSF Railway Company,
Defendant(s).

                                             JUDGMENT IN A CIVIL CASE

Judgment is hereby entered (check appropriate box):

         ✔       in favor of plaintiff(s) Richard Rogers
                 and against defendant(s) BNSF Railway Company
                 in the amount of $ 228,000,000

                          which      includes       pre–judgment interest.
                                   ✔ does not include pre–judgment interest.

        Post-judgment interest accrues on that amount at the rate provided by law from the date of this judgment.

        Plaintiff(s) shall recover costs from defendant(s).


                 in favor of defendant(s)
                 and against plaintiff(s)

        Defendant(s) shall recover costs from plaintiff(s).


                 other:




This action was (check one):

 ✔   tried by a jury with Judge Matthew Kennelly          presiding, and the jury has rendered a verdict.
     tried by Judge                            without a jury and the above decision was reached.
     decided by Judge                            on a motion



Date: 10/12/2022                                    Thomas G. Bruton, Clerk of Court

                                                                              , Deputy Clerk
